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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION

 UNITED STATES OF AMERICA                      )
                                               )
                        v.                     )       CAUSE NO. 2:16-CR-174-RL-JEM
                                               )
 JEROME ANDERSON,                              )
                                Defendant.     )

  AMENDED FINDINGS AND RECOMMENDATION OF THE MAGISTRATE JUDGE
       UPON A PLEA OF GUILTY BY DEFENDANT JEROME ANDERSON

 TO:    THE HONORABLE RUDY LOZANO,
        UNITED STATES DISTRICT COURT

        Upon Defendant Jerome Anderson’s request to enter a plea of guilty pursuant to Rule 11 of

 the Federal Rules of Criminal Procedure, this matter came for hearing before Magistrate Judge John

 E. Martin on July 27, 2017, with the consent of Defendant Anderson, counsel for Defendant

 Anderson, and counsel for the United States of America.

        The hearing on Defendant Anderson’s plea of guilty was in full compliance with Rule 11,

 Federal Rules of Criminal Procedure, before the Magistrate Judge in open court and on the record.

        In consideration of that hearing and the statements made by Defendant Anderson under oath

 on the record and in the presence of counsel, the remarks of the Assistant United States Attorney and

 of counsel for Defendant Anderson,

        I FIND as follows:

        (1) that Defendant Jerome Anderson understands the nature of the charge against him to

 which the plea is offered;

        (2) that Defendant Jerome Anderson understands his right to trial by jury, to persist in his

 plea of not guilty, to the assistance of counsel at trial, to confront and cross-examine adverse

 witnesses, and his right against compelled self-incrimination;
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        (3) that Defendant Jerome Anderson understands what the maximum possible sentence is,

 including the effect of the supervised release term, and Defendant Jerome Anderson understands that

 the sentencing guidelines apply and that the Court may depart from those guidelines under some

 circumstances;

        (4) that the plea of guilty by Defendant Jerome Anderson has been knowingly and

 voluntarily made and is not the result of force or threats or of promises;

        (5) that Defendant Jerome Anderson is competent to plead guilty;

        (6) that Defendant Jerome Anderson understands that her answers may later be used against

 him in a prosecution for perjury or false statement;

        (7) that there is a factual basis for Defendant Jerome Anderson’s plea; and further,

        I RECOMMEND that the Court accept Jerome Anderson’s plea of guilty to the offense

 charged in Count 10 of the Second Superseding Indictment and that Defendant Jerome Anderson

 be adjudged guilty of the offense charged in Count 10 of the Second Superseding Indictment and

 have sentence imposed. A Presentence Report has been ordered.                Should this Report and

 Recommendation be accepted and Jerome Anderson be adjudged guilty, sentencing before Senior

 Judge Rudy Lozano will be set at a later date by separate order. Objections to the Findings and

 Recommendation are waived unless filed and served within fourteen (14) days. See 28 U.S.C. §

 636(b)(1).

        So ORDERED this 22nd day of August, 2017.

                                                        s/ John E. Martin
                                                        MAGISTRATE JUDGE JOHN E. MARTIN
                                                        UNITED STATES DISTRICT COURT
 cc:    All counsel of record
        Honorable Rudy Lozano
